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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

                                                                   )
                                                                   )    Chapter 11
    In re:                                                         )
                                                                   )    Case No. 22-11068 (JTD)
                                      1
    FTX TRADING LTD., et al.,                                      )
                                                                   )    (Jointly Administered)
    Debtors.                                                       )
                                                                   )    Objection Deadline: April 1, 2024 at
                                                                   )    4:00 p.m. (ET)

            SUMMARY OF FOURTEENTH MONTHLY FEE STATEMENT OF
     PAUL HASTINGS LLP, AS LEAD COUNSEL FOR THE OFFICIAL COMMITTEE OF
        UNSECURED CREDITORS, FOR ALLOWANCE OF COMPENSATION AND
             REIMBURSEMENT OF EXPENSES FOR THE PERIOD FROM
                  JANUARY 1, 2024 THROUGH JANUARY 31, 2024

    Name of Applicant:                                           Paul Hastings LLP (“Paul Hastings”)
    Authorized to Provide Professional Services to:              Official Committee of Unsecured Creditors
                                                                 (“Committee”)
    Date of Retention:                                           Order entered February 7, 2023, effective as of
                                                                 December 20, 2022 [D.I. 635]
    Period for Which Compensation and                            January 1, 2024, through and including January
    Reimbursement is Sought:                                     31, 2024 (the “Fee Period”)
    Total Amount of Compensation Sought as                       $1,749,710.75
    Actual, Reasonable and Necessary:
    80% of Compensation Sought as Actual,                        $1,399,768.60
    Reasonable and Necessary:
    100% of Expense Reimbursement Sought as                      $5,606.63
    Actual, Reasonable and Necessary:
    This is a(n):   X monthly ___ interim ____ final application.
    This application includes approximately 1.6 hours and associated fees of approximately $1,630 in
    connection with the preparation of fee applications.




1
          The last four digits of FTX Trading Ltd.’s tax identification number are 3288. Due to the large number of debtor
entities in these Chapter 11 Cases, a complete list of the Debtors and the last four digits of their federal tax identification
numbers is not provided herein. A complete list of such information may be obtained on the website of the Debtors’ claims
and noticing agent at https://cases.ra.kroll.com/FTX.
         C a s e       2 2 - 1 1 0 6 8 - J T D                          D o c     9 0 6




          COMPENSATION BY INDIVIDUAL DURING THE FEE PERIOD

       Name         Practice Group;       Hourly Rate    Hours      Amount
                     Date of First                       Billed      Billed
                      Admission
Partners
Daniel, Chris      Fintech and             $1,890.00      7.90     $14,931.00
                   Payments Group,
                   1999
Gilad, Erez        Finance &               $2,100.00     89.00    $186,900.00
                   Restructuring, 2001
Hansen, Kris       Finance &               $2,300.00     64.60    $148,580.00
                   Restructuring, 1996
Kelly, Brian       Finance &               $1,835.00     49.60     $91,016.00
                   Restructuring, 2001
Madell, Jaime      Structured Credit,      $1,890.00      2.20     $4,158.00
                   2012
Merola, Frank      Finance &               $2,100.00     38.00     $79,800.00
                   Restructuring, 1988
Pasquale, Ken      Financial               $2,100.00     222.00   $466,200.00
                   Restructuring, 1990
Sasson, Gabe       Financial               $1,835.00     24.50     $44,957.50
                   Restructuring, 2010
Sibbitt, Eric      Fintech and             $1,835.00      6.00     $11,010.00
                   Payments Group,
                   1997
Tsao, Leo          Investigation &         $1,775.00      1.70     $3,017.50
                   White Collar
                   Defense, 1999
                                         Partner Total   505.50   $1,050,570.00
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Of Counsel
Greenbacker,         Fintech and            $1,590.00             11.70      $18,603.00
Lauren-Kelley        Payments Group,
                     2014
Griffin, Meagan E.   Fintech and            $1,590.00              0.50          $795.00
                     Payments Group,
                     2013
Lowenthal, Jeffrey   Financial              $2,185.00              0.40          $874.00
                     Restructuring, 1984
Silber, Gary         Tax, 2011              $1,850.00             10.30      $19,055.00
Traxler, Katherine   Financial              $1,120.00             0.40        $448.00
A.                   Restructuring, 1990
                                       Of Counsel Total           23.30      $39,775.00
Associates
Catalano, Kristin    Financial                   $1,185.00        56.00      $66,360.00
                     Restructuring, 2021
Gaviria, Natasha     Life Sciences and           $1,185.00         2.50          $2,962.50
                     Healthcare, 2021
Iaffaldano, Jack     Financial                   $1,295.00        144.70    $187,386.50
                     Restructuring, 2020
Koch, Leonie         Financial                    $985.00         150.30    $148,045.50
                     Restructuring, 2023
Koch, Leonie         Financial                    $492.50          4.00          $1,970.00
(travel, bill at ½   Restructuring, 2023
rate)
Maksud, Muaaz        Mergers &                   $1,185.00         9.30      $11,020.50
                     Acquisitions, 2021
Miliotes, Lanie      Financial                    $985.00         17.40      $17,139.00
                     Restructuring, 2023
Oakley, Erik         Securities & Capital         $985.00          5.10          $5,023.50
                     Markets, 2022
Sadler, Tess         Financial                   $1,365.00        30.40      $41,496.00
                     Restructuring, 2019
Sasson, Isaac        Financial                   $1,395.00        76.80     $107,136.00
                     Restructuring, 2016
Sasson, Isaac        Financial                    $697.50          3.50          $2,441.25
(travel, bill at ½   Restructuring, 2016
rate)
Steed, Jeremy        Investigation &             $1,395.00         4.00          $5,580.00
                     White Collar
                     Defense, 2013
Wong, Nicole         Tax, 2023                    $985.00          6.70       $6,599.50
Xu, Christine        Financial                   $1,185.00        12.10      $14,338.50
                     Restructuring, 2022
                                            Associate Total       522.80    $617,498.75
Paraprofessionals


                                             2
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Ecklund, Amy        Technical               $440.00             0.90          $396.00
                    Operations Senior
                    Analyst
Laskowski, Mat      Financial               $565.00            69.80      $39,437.00
                    Restructuring
Magzamen, Michael   Financial               $565.00             2.80          $1,582.00
                    Restructuring
Mohamed, David      Financial               $565.00             0.80          $452.00
                    Restructuring
                                Paraprofessional Total          74.30     $41,867.00
TOTAL:                                                        1,125.90   $1,749,710.75
BLENDED HOURLY RATE: $1,554




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      COMPENSATION BY PROJECT CATEGORY FOR THE FEE PERIOD

                                                              Hours
      U.S. Trustee Task Code and Project Category                        Amount Billed
                                                              Billed
B110 Case Administration                                         58.40        $41,079.50
B111 Schedules and Statements of Financial Affairs                0.70          $906.50
B112 General Creditor Inquiries                                   0.50          $647.50
B113 Case Analysis/Pleadings Review                              13.00        $16,520.00
B115 Meetings and Communications with Debtors                    57.70       $106,734.50
B120 Asset Analysis and Recovery                                 14.40        $29,883.50
B130 Asset Disposition                                         155.70        $271,841.00
B150 Meetings and Communications with Creditors                159.70        $284,619.50
B155 Court Hearings                                              47.80        $73,333.00
B162 Fee/Compensation Matters (Paul Hastings)                    18.30        $18,296.50
B166 Fee/Compensation Matters (Other Professionals)               3.30         $3,250.50
B190 Other Contested Matters (excel. Assumption/rejections       51.50        $91,141.50
     motions)
B191 General Litigation                                          77.20       $108,987.00
B195 Non-Working Travel                                           7.50         $4,411.25
B210 Business Operations                                          2.10         $2,514.50
B215 Regulatory Matters                                           2.50         $4,083.50
B230 Financing/Cash Collections                                   0.60         $1,260.00
B240 Tax Issues                                                  13.60        $19,970.00
B261 Investigations                                              26.10        $33,973.00
B310 Claims Administration and Objection                       154.80        $240,953.50
B320 Plan and Disclosure Statement (including Business         260.50        $395,304.50
     Plan)
TOTAL:                                                        1,125.90    $1,749,710.75
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          EXPENSE SUMMARY FOR THE FEE PERIOD

                       Category                             Amount
                                                               $2,102.33
Computer Search
                                                                 $360.08
Taxi/Ground Transportation
                                                                  $95.12
In-house Black & White Reproduction Charges (1,189
copies at $0.08 per page)
                                                               $2,924.00
In-house Color Reproduction Charges (5,848 copies at
$0.50 per page)
                                                                  $40.00
Meals
                                                                  $75.30
Courier Service
                                                                   $9.80
Postage/Express Mail
                                                               $5,606.63
TOTAL:




                                    2
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                               )
                                                               )    Chapter 11
    In re:                                                     )
                                                               )    Case No. 22-11068 (JTD)
                                      1
    FTX TRADING LTD., et al.,                                  )
                                                               )    (Jointly Administered)
    Debtors.                                                   )
                                                               )    Objection Deadline: April 1, 2024 at
                                                               )    4:00 p.m. (ET)

    FOURTEENTH MONTHLY FEE STATEMENT OF PAUL HASTINGS LLP, AS LEAD
    COUNSEL FOR THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS, FOR
    ALLOWANCE OF COMPENSATION AND REIMBURSEMENT OF EXPENSES FOR
        THE PERIOD FROM JANUARY 1, 2024 THROUGH JANUARY 31, 2024

                  Pursuant to the Order Establishing Procedures for Interim Compensation and

Reimbursement of Expenses for Professionals [D.I. 435] (the “Interim Compensation Order”), Paul

Hastings LLP ( “Paul Hastings”), lead counsel to the Official Committee of Unsecured Creditors

(the “Committee”) appointed in the chapter 11 cases (the “Chapter 11 Cases”) of the above-

captioned debtors and debtors-in-possession (the “Debtors”), hereby submits this monthly fee

statement (this “Monthly Fee Statement”) for compensation of fees and reimbursement of costs

and expenses incurred by Paul Hastings for professional services rendered by Paul Hastings during

the period from January 1, 2024 through and including January 31, 2024 (the “Fee Period”) for or

on behalf of the Committee in connection with the Chapter 11 Cases. In support of this Monthly

Fee Statement, Paul Hastings respectfully states as follows:




1
          The last four digits of FTX Trading Ltd.’s tax identification number are 3288. Due to the large number of
debtor entities in these Chapter 11 Cases, a complete list of the Debtors and the last four digits of their federal tax
identification numbers is not provided herein. A complete list of such information may be obtained on the website of
the Debtors’ claims and noticing agent at https://cases.ra.kroll.com/FTX.
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                                                 Background

                 1.       On November 11 and November 14, 2022, the Debtors filed voluntary

petitions for relief under Chapter 11 of the Bankruptcy Code with this Court. The Debtors continue

to operate their businesses and manage their properties as debtors-in-possession pursuant to

sections 1107(a) and 1108 of the Bankruptcy Code. As of the date hereof, no trustee or examiner

has been appointed in the Chapter 11 Cases.

                 2.       On November 7, 2023, the Office of the United States Trustee for the

District of Delaware (the “U.S. Trustee”) filed the Second Amended Notice of Appointment of

Committee of Unsecured Creditors [Docket No. 3685].2

                 3.       On December 20, 2022, the Committee selected Paul Hastings to serve as

its lead counsel in connection with the Debtors’ Chapter 11 Cases.

                 4.       On February 7, 2023, the Court entered the Order Authorizing and

Approving the Retention and Employment of Paul Hastings LLP as Lead Counsel to the Official

Committee of Unsecured Creditors, Effective as of December 20, 2022 [D.I. 635] (the “Retention

Order”), authorizing the retention and employment of Paul Hastings as lead counsel to the

Committee, effective as of December 20, 2022. The Retention Order authorizes Paul Hastings to

be compensated for its services at its regular hourly rates in effect from time to time, as such rates

may be increased periodically, and reimbursed for any costs and expenses incurred in connection

with its representation of the Committee in connection with the Chapter 11 Cases, as set forth

therein.




2
          The notice amended the initial Notice of Appointment of Committee of Unsecured Creditors [Docket No.
231] issued by the U.S. Trustee on December 15, 2022, to reflect the addition and correction of contact information
for certain of the members of the Committee, and to reflect the resignations of Acaena Amoros Romero and GGC
International Ltd. from the Committee.


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                                         Relief Requested

               5.      By this Monthly Fee Statement, Paul Hastings seeks (a) allowance of

compensation as an administrative expense claim against each of the Debtors’ estates for fees and

expenses incurred in the aggregate amount of $1,755,317.38, (b) payment in the amount of

$1,399,768.60, representing eighty-percent (80%) of the total amount of fees incurred, and (c)

payment in the amount of $5,606.63, representing one-hundred percent (100%) of the total amount

of costs and expenses incurred, in each case, in connection with work performed by Paul Hastings

during the Fee Period for or on behalf of the Committee in connection with the Chapter 11 Cases.

                                    Compensation Requested

               6.      Paul Hastings has worked diligently in these complex Chapter 11 Cases to

advance the interests of the Committee for the benefit of general unsecured creditors. Specifically,

Paul Hastings’ work during the Fee Period included, without limitation, the following:

       •   Conducting due diligence, research and analysis with respect to sales of certain of the
           Debtors’ venture assets;

       •   Coordinating with the Debtors and their professionals regarding the Debtors’ plan of
           reorganization and disclosure statement;

       •   Responding to the Court’s and the Committee’s inquiries regarding the appointment of
           an examiner in the Chapter 11 Cases;

       •   Analyzing legal, factual, and regulatory issues related to the estimation of digital assets
           for purposes of solicitation of and voting on the Debtors’ plan of reorganization;

       •   Conducting due diligence, research and analysis with respect to monetization of the
           Debtors’ cryptocurrency holdings;

       •   Analyzing legal and factual issues related to the estimation of the claims asserted by
           the Internal Revenue Service against the Debtors’ estates;

       •   Analyzing legal and factual issues related to the claims asserted by other
           cryptocurrency debtors against the Debtors’ estates, and preparing for mediation
           regarding such issues;




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       •   Coordinating with the Debtors regarding investigations of various prepetition
           transactions and potential estate claims and causes of action;

       •   Conducting due diligence, research, and analysis with respect to settlement of claims
           by and against the Debtors;

       •   Drafting presentations for Committee members, preparing for and attending Committee
           meetings, and preparing for and attending meetings with the Debtors; and

       •   Responding to inquiries from creditors and parties in interest.

               7.      Paul Hastings maintains computerized records of the time spent by all Paul

Hastings’ attorneys and paraprofessionals in connection with its representation of the Committee.

A detailed statement of work performed by Paul Hastings in rendering legal services to the

Committee during the Fee Period is attached hereto as Exhibit A.

               8.      The timekeepers who rendered services and the corresponding U.S. Trustee

project category are identified in Exhibit A, along with the total hours and the total compensation

sought by each category.

               9.      In coordination with the Court-approved fee examiner appointed in the

Chapter 11 Cases, Paul Hastings has developed a coding protocol for certain time entries so as to

preserve the confidentiality of certain services being performed by Paul Hastings attorneys, such

as (among other things) the investigation of potential litigation targets, analysis of various venture

portfolio investments, and communications with or regarding potential bidders in connection with

ongoing asset sale processes. As part of this protocol, Paul Hastings developed a series of four-

digit codes that correspond to a specific party or asset in one or more of the aforementioned

categories and a decoded list has been provided to the Fee Examiner.

                                     Expense Reimbursement

               10.     A detailed statement of the actual and necessary costs and expenses incurred

by Paul Hastings during the Fee Period in the aggregate amount of $5,606.63 in the performance



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of services rendered to the Committee is attached hereto as Exhibit B. The expenses are

categorized according to the nature of the charges incurred, including, among other things,

telephone and facsimile charges, mail charges, special or hand delivery charges, document

processing, photocopying charges, travel expenses, transportation costs, expenses for “working

meals,” computerized research, and other research costs.

               11.     Pursuant to Local Rule 2016-2, Paul Hastings represents that: (a) its rate

for copying charges is $0.08 per page for black and white copies and $0.50 per page for color

copies; (b) its rate for outgoing facsimile transmissions is $0.25 per page (excluding related long

distance transmission charges) with no charge for incoming facsimile transmissions; and

(c) computer-assisted legal research is charged at rates not more than the actual cost.

                                      Valuation of Services

               12.     Attorneys and paraprofessionals of Paul Hastings have expended a total of

1,125.90 hours in connection with its representation of the Committee during the Fee Period. The

amount of time spent by each Paul Hastings timekeeper providing services to the Committee for

the Fee Period is set forth herein and in the attached monthly statement. Paul Hastings respectfully

submits that the reasonable value of the services rendered by Paul Hastings to the Committee

during the Fee Period is $1,749,710.75.

               13.     Paul Hastings believes that the description of the time entries included in

Exhibit A attached hereto and the expenses set forth in Exhibit B attached hereto are in

compliance with the requirements of Local Rule 2016-2.

                               Reasonableness of Compensation

               14.     All fees and expenses incurred by Paul Hastings during the Fee Period for

or on behalf of the Committee were actual, reasonable and necessary in the performance of Paul




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Hastings’ services. In accordance with the factors enumerated in section 330 of the Bankruptcy

Code, all fees and expenses requested by Paul Hastings in this Monthly Fee Statement are

reasonable due to: (a) the size, nature, and complexity of these Chapter 11 Cases, (b) the time

expended, (c) the nature and extent of the services rendered, (d) the value of such services, (e) the

costs of comparable services other than in a case under Chapter 11 of the Bankruptcy Code, and

(f) the fact that such fees and expenses were not unnecessarily duplicative of the services

performed by other professionals retained by the Committee.

                                     Compliance and Waiver

               15.     To the best of Paul Hastings’ knowledge, this Monthly Fee Statement

complies with Local Rule 2016-2. To the extent that this Monthly Fee Statement does not comply

in all respects with the requirements of Local Rule 2016-2, Paul Hastings believes that such

deviations are not material and respectfully requests that any such requirements be waived.

                                      Reservation of Rights

               16.     To the extent that time or disbursement charges for services rendered or

disbursements incurred on behalf of the Committee during the Fee Period were not inputted,

processed or posted before the preparation of, or included in, this Monthly Fee Statement, or Paul

Hastings has for any other reason not sought compensation or reimbursement of expenses herein

with respect to any services rendered or expenses incurred during the Fee Period on behalf of the

Committee, Paul Hastings reserves the right to request compensation for such services and

reimbursement of such expenses in a supplemental or future Monthly Fee Statement.

               17.     In addition, Paul Hastings does not waive, and expressly reserves, its right

to respond to any objections regarding this Monthly Fee Statement and the amounts sought for




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Paul Hastings’ work performed by or on behalf of the Committee in connection with the Chapter

11 Cases.

                                 Notice and No Prior Request

               18.    Notice of this Monthly Fee Statement has been given to the following

parties or, in lieu of, to their counsel, if known: (a) the U.S. Trustee, (b) the Debtors, (c) the

Committee, (d) the Fee Examiner, and (e) all parties required to be given notice in the Interim

Compensation Order. Paul Hastings submits that no other or further notice is necessary.

               19.    No prior request for the relief sought in this Monthly Fee Statement for fees

and expenses incurred during the Fee Period has been made to this or any other Court.

               WHEREFORE, Paul Hastings respectfully requests that the Court approve the

Monthly Fee Statement and grant Paul Hastings such other and further relief as the Court deems

just and proper.

Dated: March 11, 2024                  PAUL HASTINGS LLP
       New York, New York
                                       /s/ Erez E. Gilad
                                       Kristopher M. Hansen*
                                       Erez E. Gilad*
                                       Gabriel E. Sasson*
                                       200 Park Avenue
                                       New York, NY 10166
                                       Telephone: (212) 318-6000
                                       Facsimile: (212) 319-4090
                                       Email: krishansen@paulhastings.com
                                               erezgilad@paulhastings.com
                                               gabesasson@paulhastings.com


                                       * Admitted pro hac vice

                                       Counsel to the Official Committee
                                       of Unsecured Creditors




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           CERTIFICATION OF COMPLIANCE WITH LOCAL RULE 2016-2

              I, Erez E. Gilad, hereby certify as follows:

              1.      I am a partner in the applicant firm, Paul Hastings LLP, and have been

admitted to the bar of the State of New York since 2001.

              2.      I have personally performed many of the legal services rendered by Paul

Hastings, as lead counsel for the Committee, and I am generally familiar with all other work

performed on behalf of the Committee by the lawyers and paraprofessionals in the firm.

              3.      The facts set forth in the foregoing Monthly Fee Statement are true and

correct to the best of my knowledge, information, and belief. Moreover, I have reviewed the

requirements of Rule 2016-2 of the Local Rules of Bankruptcy Practice and Procedure of the

United States Bankruptcy Court for the District of Delaware and respectfully submit that the

Monthly Fee Statement complies with such requirements.

 Dated: March 11, 2024
        New York, New York
                                                  /s/ Erez E. Gilad
                                                  Erez E. Gilad
